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                                    Pg 2 of 9
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                                    Pg 3 of 9
08-13555-mg   Doc 27332-1   Filed 04/11/12 Entered 04/11/12 17:51:09   Exhibit - A
                                    Pg 4 of 9
08-13555-mg    Doc 27332-1   Filed 04/11/12 Entered 04/11/12 17:51:09   Exhibit - A
                                     Pg 5 of 9




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  s/ James M. Peck
08-13555-mg   Doc 27332-1   Filed 04/11/12 Entered 04/11/12 17:51:09   Exhibit - A
                                    Pg 6 of 9
08-13555-mg   Doc 27332-1   Filed 04/11/12 Entered 04/11/12 17:51:09   Exhibit - A
                                    Pg 7 of 9
08-13555-mg   Doc 27332-1   Filed 04/11/12 Entered 04/11/12 17:51:09   Exhibit - A
                                    Pg 8 of 9
08-13555-mg   Doc 27332-1   Filed 04/11/12 Entered 04/11/12 17:51:09   Exhibit - A
                                    Pg 9 of 9
